Case 4:14-cv-00074-JHM-HBB Document 187-5 Filed 05/06/19 Page 1 of 3 PageID #: 3920




                   Exhibit E
Case 4:14-cv-00074-JHM-HBB Document 187-5 Filed 05/06/19 Page 2 of 3 PageID #: 3921



                                                 Resume of
                                              Jeffrey D. Hyatt

                                     Applied Technical Services, Inc.
                                            1049 Triad Court
                                          Marietta, Georgia 30062
                                               770-423-1400

   Capabilities

   Conduct and coordinate technical investigations of product failures, industrial, automobile and aircraft
   accidents. Perform research and evaluate designs to determine compliance with the appropriate industry
   standards and governmental regulations. Evaluate and test mechanical systems for maintenance
   deficiencies, design defects and manufacturing defects.

   ATS Responsibilities

   Investigate automotive, aircraft and industrial accidents dealing with product defect and maintenance
   deficiency issues. Reconstruct aircraft, automobile, truck, motorcycle and pedestrian accidents. Conduct
   and coordinate accident site investigations as well as vehicle and product inspections. Perform product
   and prototype testing of various devices and systems to specific government regulations or industry
   standards.

   Education

   Society of Automotive Engineers, (SAE); Hydraulic Brake Systems for Passenger Cars and Light Trucks,
   September 2005
   Bendix Air Brake Systems Training, 2001
   University of Southern California, School of Engineering- Aircraft Accident Investigation, 2000
   ASM International Principles of Failure Analysis, 1998
   Northwestern University Traffic Institute, Traffic Accident Reconstruction I, 1996
   Southern College of Technology, Marietta, Georgia - B.S. in Mechanical Engineering Technology, 1995
   DeKalb Community College, Clarkston, Georgia

   Examinations and Certifications

   F.A.A. Certified Private Pilot, 1991
   State of Georgia Fundamentals of Engineering Exam, 1998
   Georgia Engineer-In-Training (E.I.T.), No. 18979
   Commercial Drivers License, Class A, (C.D.L.), 2003
   Certified Weld Inspector (CWI), 2017

   Experience

   Applied Technical Services, Inc. (1996 - Present):
      - Investigation and analysis of failures involving all major systems of automobiles, light trucks and
          heavy trucks, including seatbelts, airbags, hydraulic brakes, air brakes, engines, transmissions,
          vehicle computer systems, anti-lock brakes, tire failures, axle and wheel separations, door latch
          and hinge integrity, locks and security systems.
      - Hydraulic equipment testing and failure analysis.
      - Aircraft accident investigations involving Part 91 and Part 135 aircraft
      - Aircraft component failure investigations for General Aviation and Commercial Aviation.
          Conducted failure analysis of aircraft components revealing a defect that directly resulted in
          F.A.A. issuance of a repair directive.
Case 4:14-cv-00074-JHM-HBB Document 187-5 Filed 05/06/19 Page 3 of 3 PageID #: 3922




   Jeffrey D. Hyatt                                                                            Resume

   Experience (Cont’d)

      -   Conducted extensive structural testing and evaluation of handrail and guardrail systems
      -   Vehicle accident reconstructions using the latest methods and computer simulations
      -   Aircraft accident reconstruction

   A.I. Automotive, Inc. (1992-1994)
       - Diagnosed a wide variety of automotive system failures and product defects
   Dixon Tom-A-Toe (1991-1992)
       - Design of in-house fixtures-welding and fabrication of production fixtures-repair and
           maintenance of high voltage industrial machinery
   Crissman Enterprises (1987-1992)
       - Diagnose and identify an extensive array of automotive and truck component failures and defects


   Professional Associations

   Society of Automotive Engineers (SAE)
   American Society of Mechanical Engineers (ASME)
   American Welding Society (AWS)




                                                                                                July 2017
